USCA Case #23-1157      Document #2072315           Filed: 08/29/2024    Page 1 of 14



                ORAL ARGUMENT NOT YET SCHEDULED

              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                    )
STATE OF UTAH, et al.,              )
                                    )
     Petitioners,                   )
                                    )
     v.                             )               No. 23-1157, and
                                    )               consolidated cases
UNITED STATES ENVIRONMENTAL )
PROTECTION AGENCY, et al.,          )
                                    )
     Respondents                    )
____________________________________)

                   REPLY IN SUPPORT OF MOTION FOR
                     PARTIAL VOLUNTARY REMAND

      On August 5th, Respondent EPA moved this Court for partial voluntary

remand of the final rule known as the Good Neighbor Plan, 88 Fed. Reg. 36654

(June 5, 2023) (“Rule”). ECF 2068299. EPA explained that while the Agency

believes that the Rule was reasonable when promulgated, the Supreme Court

subsequently noted a “likely” procedural flaw: that EPA had likely inadequately

responded to comments in the record related to the Rule’s severability. Partial

voluntary remand would allow EPA to address the identified comments. Mot.,

ECF 2068299.

      Petitioners oppose this relief on the grounds that “reversal” is “the only

appropriate remedy” for this possible error, Resp., ECF 2070323 at 2, and that
                                          1
USCA Case #23-1157       Document #2072315          Filed: 08/29/2024    Page 2 of 14



EPA’s request is “borderline frivolous” and prejudicial, id. at 10-15. But this

Court’s equitable powers extend to granting requests for voluntary remand,

including without vacatur. Neither the Supreme Court’s stay decision nor the

Clean Air Act’s judicial review provisions restrain those powers; nor do Petitioners

grapple with the fact that remand would generate a new agency action. As remand

would nip in the bud a potential procedural issue in this case, EPA’s motion will

prevent needless and duplicative judicial process that could only serve to delay

reductions in harmful pollution affecting downwind states. And with the Rule’s

enforcement stayed pending judicial review, Petitioners will not be prejudiced.

      A.     Granting the motion for partial voluntary remand is within this
             Court’s powers.

      This Court has long reserved to itself “broad discretion” to grant agencies’

motions for remand, and “generally grant[s]” those motions where agencies intend

on remand to “cure their own mistakes.” Util. Solid Waste Activities Grp. v. EPA,

901 F.3d 414, 436 (D.C. Cir. 2018) (“USWAG”) (citing Limnia, Inc. v. Department

of Energy, 857 F.3d 379, 381, 386 (D.C. Cir. 2017), and Ethyl Corp. v. Browner,

989 F.2d 522, 524 (D.C. Cir. 1993)). That authority plainly encompasses EPA’s

requested partial remand here.

      Petitioners charge in response that the Supreme Court “closed th[e] door” on

that authority, Resp. 6, relying on a footnote in the Supreme Court stay order

stating that the Clean Air Act’s judicial review provisions prevent courts “from
                                         2
USCA Case #23-1157       Document #2072315           Filed: 08/29/2024   Page 3 of 14



consulting explanations and information offered after [a] rule’s promulgation.”

Resp. 12. But the Act’s review provisions do not bear on EPA’s motion. EPA is

not proposing that this Court reach merits determinations based on information

beyond the designated administrative record. EPA is requesting a partial remand

so that it may address the likely procedural error identified by the Supreme Court

and issue a revised rationale concerning the Rule’s severability that responds to

timely filed comments – resulting in a new final agency action on that issue, with a

corresponding administrative record, that can be reviewed by this Court consistent

with the Clean Air Act. See 42 U.S.C. § 7607(d)(6)(C) and (d)(7)(A).

      Whether the Court proceeds with the remainder of Petitioners’ challenges to

the Rule now or holds those challenges in abeyance until the remand is complete,

the nature of the Court’s review will be the same: the Court will be able to review

Petitioners’ challenges – save those presented in Section I of both briefs – on the

original, complete administrative record applicable to those challenges. And it will

be able to review any remaining, substantive concerns with the Rule’s severability

discussion on the basis of EPA’s revised rationale issued on remand. See Mot. 7

n.4 (identifying similar challenges where partial voluntary remand was granted).

As such, granting EPA’s motion would not conflict with the Act’s judicial review

provisions.




                                          3
USCA Case #23-1157       Document #2072315            Filed: 08/29/2024    Page 4 of 14



      Nor would granting a request for voluntary remand violate the Act’s

language on remedies. See Resp. 9. First, although Petitioners assert that EPA’s

request for a partial voluntary remand is “tantamount to a request for judgment,”

Resp. 9, the postures are distinct: agencies may seek voluntary remand without

confessing error. Clean Wisconsin v. EPA, 964 F.3d 1145, 1175 (D.C. Cir. 2020).

Petitioners do not establish in the first instance that the potential scope of remedies

after judgment bears on this Court’s consideration of voluntary remand before

judgment.

      In any case, Petitioners are incorrect that “[a]ny remedy short of [vacatur]”

would violate the Clean Air Act. Resp. 9. The Act simply does not say that. It

states that courts “may reverse any [EPA] action found to be” unlawful (the

language partially quoted by the Supreme Court). 42 U.S.C. § 7607(d)(9)

(emphasis added). The Act also explicitly precludes vacatur for certain types of

errors, for example stating that courts “may invalidate [a] rule” on the basis of

procedural errors “only if” certain conditions are met. Id. § 7607(d)(8); see also

Ne. Md. Waste Disposal Auth. v. EPA, 358 F.3d 936, 947, 950 (D.C. Cir. 2004);

Sierra Club v. EPA, 769 F.2d 796, 806 (D.C. Cir. 1985) (explaining that remand so

that the agency may “provide us with its rationale” is a “purely procedural

victory”).




                                           4
USCA Case #23-1157       Document #2072315           Filed: 08/29/2024    Page 5 of 14



      Nor is there any evidence the Supreme Court intended – in a footnote in a

stay opinion, no less – to announce significant new constraints on the power of

administrative agencies to correct their own mistakes or the power of the judiciary

to consider a broader array of remedies for agency errors. Justice Kavanaugh (who

joined the stay opinion here) just a week later highlighted courts’ practice of

remanding without vacatur “when a court rules that an agency must provide

additional explanation” for its action. Corner Post, Inc. v. Bd. of Governors of

Fed. Reserve Sys., 144 S. Ct. 2440, 2466 n.6 (2024) (Kavanaugh, J., concurring).

Although noting “some debate” over this widespread practice, id., he did not

suggest that the stay order in this case had declared it unlawful, or even called the

practice into doubt. 1 See also Michigan v. EPA, 579 U.S. 903 (2016) (denying a

petition for certiorari arguing that remand without vacatur was beyond this Court’s

authority under the Clean Air Act).

      As the Supreme Court has explained, “we will not construe a statute to

displace courts’ traditional equitable authority absent the clearest command.”

McQuiggin v. Perkins, 569 U.S. 383, 397 (2013); see also Ctr. for Biological

Diversity v. EPA, 56 F.4th 55, 71–72 (D.C. Cir. 2022). Clean Air Act text stating



1
 Notably, that “debate” concerns the Administrative Procedure Act’s use of the
phrase “shall … set aside agency action.” See Checkosky v. SEC, 23 F.3d 452, 491
(1994) (opinion of Randolph, J.). There is no room for debate here, where the
Clean Air Act’s use of “may” expressly preserves courts’ equitable discretion.
                                         5
USCA Case #23-1157       Document #2072315           Filed: 08/29/2024   Page 6 of 14



that courts “may reverse” unlawful actions clearly does not divest courts of their

traditional equitable powers, including the power to consider remedies other than

vacatur. Cf. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 32 (2008) (“An

injunction is a matter of equitable discretion; it does not follow from success on the

merits as a matter of course.”); Weinberger v. Romero-Barcelo, 456 U.S. 305, 313

(1982). This Court has, of course, long exercised that authority under Allied-

Signal, Inc. v. U.S. Nuclear Regulatory Commission, 988 F.2d 146 (D.C. Cir.

1993).

      Petitioners claim that Allied-Signal would not apply to this case, but present

no argument except that the Supreme Court’s use of the word “reversal”

transforms the Act’s “may” into a mandate and precludes remand without vacatur.

As discussed, Petitioners are wrong that the Act defines vacatur as the “sole

remedial avenue”; “may reverse” means what it says. And the consequence of

Petitioners’ argument here – requiring an entirely new notice-and-comment

rulemaking for every rulemaking error, including failure to respond to a single

comment – would be an extraordinary departure from both this Court’s precedents

and its foundational equitable powers. There is thus no basis for this Court to

deviate here from its longstanding “prefer[ence]” that “agencies … cure their own

mistakes” through voluntary remand “rather than wasting the courts’ and the




                                          6
USCA Case #23-1157       Document #2072315           Filed: 08/29/2024    Page 7 of 14



parties’ resources reviewing a record that both sides acknowledge to be incorrect

or incomplete.” Ethyl Corp., 989 F.2d at 524. 2

      B.     Granting EPA’s request for partial voluntary remand is in the
             interest of the Court and the parties.

      Granting partial voluntary remand in this instance is appropriate. Under this

Court’s precedents, EPA’s stated intention to modify a portion of the existing

rationale for the Rule by responding to unaddressed comments is “generally”

sufficient to secure partial remand. See USWAG, 901 F.3d at 436 (citing Limnia).

While “intervening events” like “a new legal decision” are not required to seek a

voluntary remand, Clean Wisconsin, 964 F.3d at 1175, EPA’s request comes after

an exceedingly rare preliminary order from the Supreme Court specifically

identifying a likely procedural flaw in the Rule’s rationale – and one that EPA has

the ability to quickly cure without disturbing the remainder of this case. These

circumstances amplify EPA’s basis for seeking voluntary remand. To be sure, the

United States believes that the Supreme Court’s conclusion (upon limited review)

was incorrect for the reasons provided in EPA’s brief and in Justice Barrett’s

dissent. But as this Court might ultimately agree with the Supreme Court’s



2
  Nor can Petitioners reasonably claim that the grant of a stay is itself a guarantee
of subsequent vacatur. See Resp. 9. Indeed, both EPA’s 1998 NOX SIP Call and
2011 Cross-State Air Pollution Rule were ultimately implemented despite initial
stay orders, and notwithstanding that some elements of each rule were remanded
without vacatur.
                                          7
USCA Case #23-1157        Document #2072315           Filed: 08/29/2024   Page 8 of 14



preliminary view, remand to address the potentially overlooked comments now

will save the parties and the Court from a far more prolonged process, whereby the

same potential flaw must be corrected months or years from now – after argument,

decision, and perhaps appeal, with all the harms to public health from delay –

rather than at this relatively early juncture.

      As against its general preference for voluntary remand, the Court weighs

three additional factors: prejudice, frivolousness, and bad faith. USWAG, 901 F.3d

at 436. But Petitioners fail to establish they are present here.

      As to prejudice, enforcement of the Rule is presently stayed, 3 so this limited

remand will not affect Petitioners’ compliance burdens. Indeed, Petitioners’ only

argument (aside from claiming voluntary remand is unavailable) amounts to a

projection that EPA’s explanation on remand will be substantively flawed. Resp.

10-11. That speculation, and Petitioners’ claim that they “will not have any

opportunity to address EPA’s continued misimpression of the Rule’s fatal flaws,”

id., is unfounded. If Petitioners object to how EPA addresses comments on

remand, judicial review is the remedy.

      As to frivolousness, Petitioners’ argument that EPA’s request is “futile”

collapses into their distorted view of agencies’ authority to correct their own errors.

3
 See EPA Memorandum, available at:
https://www.epa.gov/system/files/documents/2024-08/gnp-stay-policy-memo-08-
05-2024-signed.pdf (announcing plan for administrative stay).
                                            8
USCA Case #23-1157        Document #2072315           Filed: 08/29/2024   Page 9 of 14



See Resp. 11-13. As noted above, Petitioners are simply incorrect that this Court

must keep the Rule frozen in amber until the Court can adjudicate the merits and,

per Petitioners, order its vacatur.

      Petitioners also claim that EPA has no “substantial and legitimate” interest in

voluntary remand, Resp. 8-9, and is instead engaged in “gamesmanship.” Resp.

14-15. But where the Supreme Court has not only granted emergency applications

for stay but also issued an opinion that identifies a specific “likely” procedural flaw

in the Rule, EPA’s interest – and those of the Rule’s supporters – in correcting that

flaw is self-evidently legitimate and substantial. 4 The fact that EPA separately

addressed reconsideration petitions on overlapping questions (but concerning after-

arising judicial stays in other Circuits) and suggested consolidation of what all

parties agree are related cases in this Court does not render EPA’s interest in

voluntary remand illegitimate. To the contrary, voluntary remand demands

substantial Agency resources; it is not undertaken lightly. 5

      Petitioners’ reliance on Limnia, Resp. 12-13, takes them no further, as that

case stands for the proposition that voluntary remands must be for the genuine



4
 An agency’s own, reviewable pronouncements are also far afield from Chenery’s
concern with post hoc justifications of counsel. See Resp. 12.
5
 The timing of EPA’s request also was not frivolous. See Resp. 6, 14. The
Supreme Court’s decision took eight months, and EPA moved for partial remand
after a reasonable period reviewing its reasoning.
                                           9
USCA Case #23-1157       Document #2072315            Filed: 08/29/2024     Page 10 of 14



purpose of addressing some aspect of the original action, not serve as cover for

agencies that “d[o] not intend to revisit” the original action such that remand would

amount to dismissal. 857 F.3d at 386-88. EPA’s express purpose here is to address

the identified comments and revise that portion of its rulemaking rationale

accordingly.

      As such, the requested partial remand is consistent with this Court’s

preference for administrative, rather than judicial, corrections of possible

rulemaking errors.

      C.       Vacatur is not appropriate here.

      Petitioners lastly represent that if this Court grants the request for partial

remand, they do not oppose a remand with vacatur. But no party has moved for

vacatur here. In any case, vacatur is unwarranted and would be highly prejudicial.

      First, EPA’s request for partial remand concerns a narrow, potential failure to

respond to comments the Supreme Court preliminarily assessed to be fairly raised

during rulemaking. There is no serious question that EPA can cure that procedural

failure upon remand. Under Allied-Signal, the Court weighs “the seriousness of

the [rule’s] deficiencies” and “the disruptive consequences of an interim change

that may itself be changed.” 988 F.2d at 150-51. “The ‘seriousness’ of agency

error turns in large part on ‘how likely it is the agency will be able to justify its

decision on remand.’” Long Island Power Auth. v. FERC, 27 F.4th 705, 717 (D.C.


                                           10
USCA Case #23-1157      Document #2072315           Filed: 08/29/2024    Page 11 of 14



Cir. 2022) (cleaned up). Accordingly, where, as here, “an agency may be able

readily to cure a defect in its explanation of a decision,” Heartland Reg'l Med. Ctr.

v. Sebelius, 566 F.3d 193, 198 (D.C. Cir. 2009), the first Allied-Signal factor favors

remand without vacatur.

      Second, vacatur is not necessary to avoid prejudice to Petitioners.

Enforcement of the Rule is currently stayed, so partially remanding without

vacatur would have no effect on the status quo. Remand with vacatur, however,

would be highly disruptive. Allied-Signal, 988 F.2d at 150-51. Vacatur would

delay final resolution of Petitioners’ Good Neighbor obligations under the 2015

ozone air quality standards well beyond the Act’s deadlines for upwind action, see

Wisconsin v. EPA, 938 F.3d 303, 312-13 (D.C. Cir. 2019), by forcing EPA to restart

rulemaking – which began here more than two years ago – on the basis of a

“likely” inadequate explanation on a single issue. There is no reason to presume,

at this juncture, that the Rule is otherwise unreasonable, let alone so beyond

justification that vacatur would be an appropriate remedy. See Allied-Signal, 988

F.2d at 150-51 (tying vacatur to “the extent of doubt whether the agency chose

correctly” in designing a rule). And there is no reason to start back at the

beginning of this litigation where the parties have already briefed a wide variety of

disputes that will remain unaffected by the partial remand. That result would be

both inefficient and would deal a significant blow to the people of downwind

                                          11
USCA Case #23-1157      Document #2072315          Filed: 08/29/2024     Page 12 of 14



states, who are awaiting the reductions in Petitioners’ pollution promised by the

Clean Air Act.

      Accordingly, where the Court has found flaws in Good Neighbor

rulemakings, it has regularly remanded those rulemakings without vacatur in

recognition of the strong equities of downwind states and the unequivocal statutory

command that EPA expeditiously eliminate offending pollution where upwind

states have not done so. See Wisconsin, 938 F.3d at 336; EME Homer City

Generation, L.P. v. EPA, 795 F.3d 118, 138 (D.C. Cir. 2015); North Carolina v.

EPA, 550 F.3d 1176, 1178 (D.C. Cir. 2008). Those concerns weigh equally against

vacatur here, and indeed more so, as Petitioners have yet to actually prevail on any

issue on the merits.

                                 CONCLUSION

      For these reasons and those in EPA’s motion, the United States respectfully

requests that this Court grant EPA’s motion for partial voluntary remand without

vacatur.



DATE: August 29, 2024                          Respectfully submitted,




                                         12
USCA Case #23-1157    Document #2072315       Filed: 08/29/2024   Page 13 of 14



                                          TODD KIM
                                          Assistant Attorney General

                                          /s/ Chloe H. Kolman
                                          CHLOE H. KOLMAN
                                          ELISABETH H. CARTER
  OF COUNSEL:                             ZOE PALENIK
                                          U.S. Department of Justice
  DANIEL P. SCHRAMM                       Environmental Defense Section
  KYLE DURCH                              P.O. Box 7611
  ROSEMARY H. KABAN                       Washington, D.C. 20044
  Office of General Counsel               (202) 598-3141
  U.S. Environmental Protection Agency    elisabeth.carter@usdoj.gov
  1200 Pennsylvania Ave., N.W.
  Washington, D.C. 20460                  Counsel for Respondents




                                     13
USCA Case #23-1157      Document #2072315          Filed: 08/29/2024    Page 14 of 14



                      CERTIFICATE OF COMPLIANCE

      I hereby certify that this reply complies with the requirements of Fed. R.
App. P. 32(a)(5) and (6) because it has been prepared in 14-point Times New
Roman, a proportionally spaced font.

       I further certify pursuant to Fed. R. App. P. 32(f) and (g) that this reply
contains 2,597 words, excluding exempted portions, according to the count of
Microsoft Word, and that this reply complies with the type-volume limitation set
forth in Circuit Rule 27(c).

                                              /s/ Chloe H. Kolman
                                              CHLOE H. KOLMAN



                         CERTIFICATE OF SERVICE

      I hereby certify that on this 29th day of August, 2024, the foregoing reply
was electronically filed with the Clerk of the Court using the CM/ECF system,
which will cause of copy of this motion to be served upon all attorneys of record in
this matter.

                                              /s/ Chloe H. Kolman
                                              CHLOE H. KOLMAN




                                         14
